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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


JAMES WATKINS, Individually and On         Case No. 18-10587
Behalf of All Others Similarly Situated,

                          Plaintiff,       CLASS ACTION COMPLAINT FOR
                                           VIOLATIONS OF THE FEDERAL
             v.                            SECURITIES LAWS

SOLID BIOSCIENCES, INC., ILAN              JURY TRIAL DEMANDED
GANOT, JENNIFER ZIOLKOWSKI, J.P.
MORGAN       SECURITIES      LLC,
GOLDMAN SACHS & CO. LLC,
LEERINK PARTNERS, LLC, NOMURA
SECURITIES CO., LLC, and CHARDAN
CAPITAL MARKETS LLC,

                          Defendants.




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       Plaintiff James Watkins (“Plaintiff”), by and through his attorneys, alleges the following

upon information and belief, except as to those allegations concerning Plaintiff, which are alleged

upon personal knowledge. Plaintiff’s information and belief is based upon, among other things,

his counsel’s investigation, which includes without limitation: (a) review and analysis of

regulatory filings made by Solid Biosciences, Inc. (“Solid Biosciences” or the “Company”), with

the United States Securities and Exchange Commission (“SEC”); (b) review and analysis of press

releases and media reports issued by and disseminated by Solid Biosciences; and (c) review of

other publicly available information concerning Solid Biosciences.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that: a) acquired common

stock (“stock” or “shares”) of Solid Biosciences pursuant and/or traceable to the Company’s false

and/or misleading registration statement and prospectus (collectively, the “Registration

Statement”) issued in connection with the Company’s January 25, 2018 initial public offering

(“IPO” or the “Offering”); and/or, b) acquired Solid Biosciences’ securities between January 25,

2018, and March 14, 2018, inclusive (the “Class Period”). Plaintiff pursues claims against the

Defendants, under the Securities Act of 1933 (the “Securities Act”) and the Securities Exchange

Act of 1934 (the “Exchange Act”).

       2.      Solid Biosciences purportedly seeks to cure Duchenne muscular dystrophy, or
DMD. The Company’s lead product candidate, SGT-001, is a gene transfer under development to

restore functional dystrophin protein expression in patients’ muscles. The Company’s therapy uses
adeno-associated virus (AAV) to deliver the transgene into the patient.
       3.      On January 2, 2018, the Company filed its IPO prospectus with the SEC, which
forms part of the IPO Registration Statement that was declared effective on January 25, 2018. In
the IPO, the Company sold 7,000,000 shares of common stock at a price of $16.00 per share. The

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Company received proceeds of approximately $112 million from the IPO, net of underwriting
discounts and commissions. The proceeds from the IPO were purportedly to be used to fund
research and develop a cure for DMD.
       4.        On January 30, 2018, an article was published by various medical experts
highlighting the risks of studies using high doses of gene therapies using adeno-associated virus
(AAV). One of the article’s co-authors was Dr. James Wilson, a former member of the Solid
Biosciences’ advisory board.
       5.        On this news the Company’s shares fell $1.20 per share, or over 5%, to close on
January 30, 2018 at $22.50 per share.
       6.        On March 14, 2018, after the close of trading, the Company published a press
release announcing that the U.S. Food and Drug Administration (“FDA”) had placed a clinical

hold on the SGT-001 Phase I/II clinical trial, IGNITE DMD. The press release further revealed in
relevant part:


       The first patient dosed in the clinical trial was a non-ambulatory adolescent who
       received 5E13 vg/kg of SGT-001 on February 14, 2018. Several days after
       administration the patient was hospitalized due to laboratory findings that
       included a decrease in platelet count followed by a reduction in red blood
       cell count and evidence of complement activation. The patient showed no signs
       or symptoms of coagulopathy (bleeding disorder) and no relevant changes from
       baseline in liver function tests. The patient responded well to medical
       treatment and is currently asymptomatic. All laboratory parameters have either
       improved or returned to normal, and he is continuing outpatient assessments.

       Solid reported the event to the FDA and, because it was unexpected, classified
       it as a Suspected Unexpected Serious Adverse Reaction (SUSAR). The FDA
       informed the company that the clinical hold was due to the event.


       7.        On March 15, 2018, Solid Biosciences’ share price fell $16.99 per share, or over

60%, to close at $9.32 per share on March 15, 2018.

       8.        Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

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operations, and prospects. Specifically, Defendants failed to disclose: ((1) that Solid Biosciences’

lead drug candidate SGT-001 had a high likelihood of causing adverse events in patients; (2) that

Solid Biosciences misled investors regarding the toxicity of SGT-001; and (3) that, as a result of

the foregoing, Defendants’ statements in the Registration Statement regarding Solid Biosciences’

business, operations, and prospects, were materially false and/or misleading.

       9.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       10.     The claims asserted herein arise under and pursuant to Sections 11 and 15 of the

Securities Act (15 U.S.C. §§ 77k and 77o), and Sections 10(b) and 20(a) of the Exchange Act (15

U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §

240.10b-5).

       11.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, Section 22 of the Securities Act (15 U.S.C. § 77v), and Section 27 of the Exchange

Act (15 U.S.C. §78aa).

       12.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). A significant portion of Defendants’ actions, and

the subsequent damages, took place in this Judicial District. Additionally, Solid Biosciences’

principal executive offices are located within this Judicial District.

       13.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the




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United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                            PARTIES

       14.     Plaintiff James Watkins, as set forth in the accompanying certification,

incorporated by reference herein, purchased Solid Biosciences stock during the Class Period,

pursuant and/or traceable to the Registration Statement issued in connection with the Company’s

IPO, and suffered damages as a result of the federal securities law violations and false and/or

misleading statements and/or material omissions alleged herein.

       15.     Defendant Solid Biosciences Therapeutics, Inc. is incorporated in Delaware and its

principal executive offices are located in Cambridge, Massachusetts. Solid Biosciences’ common

stock trades on the NASDAQ Stock Market (“NASDAQ”) under the symbol “SLDB.”

       16.     Defendant Ilan Ganot (“Ganot”) was, at all relevant times, the Chief Executive

Officer (“CEO”) and a Director of Solid Biosciences, and signed or authorized the signing of the

Company’s Registration Statement filed with the SEC.

       17.     Defendant Jennifer Ziolkowski (“Ziolkowski”) was, at all relevant times, the Chief

Financial Officer (“CFO”) of Solid Biosciences, and signed or authorized the signing of the

Company’s Registration Statement filed with the SEC.

       18.     Defendants Ganot and Ziolkowski are collectively referred to hereinafter as the

“Individual Defendants.”     The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of Solid Biosciences’ reports

to the SEC, press releases and presentations to securities analysts, money and portfolio managers

and institutional investors, i.e., the market. Each defendant was provided with copies of the

Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,

their issuance and had the ability and opportunity to prevent their issuance or cause them to be
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corrected. Because of their positions and access to material non-public information available to

them, each of these defendants knew that the adverse facts specified herein had not been disclosed

to, and were being concealed from, the public, and that the positive representations which were

being made were then materially false and/or misleading. The Individual Defendants are liable

for the false statements pleaded herein, as those statements were each “group-published”

information, the result of the collective actions of the Individual Defendants.

       19.     Defendant Goldman Sachs & Co. LLC (“Goldman Sachs”) served as an

underwriter for the Company’s IPO.

       20.     Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) served as an underwriter

for the Company’s IPO.

       21.     Defendant Leerink Partners LLC (“Leerink”) served as an underwriter for the

Company’s IPO.

       22.     Defendant Chardan Capital Markets LLC (“Chardan”) served as an underwriter for

the Company’s IPO.

       23.     Defendants Goldman Sachs, J.P. Morgan, Leerink, and Chardan are collectively

referred to hereinafter as the “Underwriter Defendants.”




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                              SUBSTANTIVE ALLEGATIONS
                                          Background

       24.     Solid Biosciences purportedly seeks to cure Duchenne muscular dystrophy, or

DMD. The Company’s lead product candidate, SGT-001, is a gene transfer under development to

restore functional dystrophin protein expression in patients’ muscles.

       25.     On January 25, 2018, the SEC declared effective the Form S-1 that Solid

Biosciences filed on December 29, 2017, and amended on January 25, 2018. The Form S-1 and

all amendments thereto form part of the “Registration Statement” for the IPO.

       26.     On January 2, 2018, the Company filed with the SEC its IPO prospectus (the

“Prospectus”), which also forms part of the Registration Statement. Under applicable SEC rules

and regulations, the Registration Statement was required to disclose known trends, events or

uncertainties that were having, and were reasonably likely to have, an impact on the Company’s

continuing operations.

       27.     On January 25, 2018, Solid Biosciences priced its IPO of 7 million shares of

common stock at a price of $16 per share, exclusive of the underwriters’ option to purchase

1,050,000 additional shares. According to the Company, the Offering raised approximately $116

million for the Company, net of underwriting discounts, commissions, and estimated offering

expenses.

                               Materially False and Misleading
                          Statements Issued During the Class Period

       28.     The Class Period begins on January 25, 2018. Prior to the start of the Class Period,

on January 25, 2018, the Company filed an amendment to its Form S-1. In the amendment, the




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Company informed investors that the SGT-001 study was enrolling patients and there was no

indication of dangerous toxicity levels, stating in relevant part:

       As part of our preclinical program, we performed necessary GLP toxicology studies
       to establish the overall safety profile of SGT-001 in wild-type mice and NHPs. The
       data and our conclusions from these studies were included in our IND submission
       to the FDA. Systemic administration of SGT-001 was generally well tolerated in
       both species. We observed no evidence of test-article-related toxicity for up to 13
       weeks after systemic administration of SGT-001 in either species that would
       prevent us from initiating clinical studies. In the NHP study, test-article-related
       effects were self-limited, mild chemistry and hematology changes with no
       microscopic correlates at the end of the study. There was a transient and
       asymptomatic increase in liver function enzymes observed in NHPs starting on day
       9, which returned to normal levels by day 21. We believe there were no other
       relevant test-article-related adverse events associated with SGT-001 administration
       in either GLP study.

                                               ***

       In the fourth quarter of 2017, we announced the initiation of a randomized,
       controlled, open-label, single-ascending dose Phase I/II clinical study, called
       IGNITE DMD, designed to evaluate SGT-001 in ambulatory and non-ambulatory
       males with DMD aged four to 17 years. The primary objectives of the study are to
       assess the safety and tolerability of SGT-001, as well as efficacy as defined by
       microdystrophin protein expression.

                                               ***

       We are developing SGT-001 for the treatment of DMD through a single intravenous
       administration. In the fourth quarter of 2017, we announced the initiation of
       IGNITE DMD, a randomized, controlled, open-label, single-ascending dose Phase
       I/II clinical study designed to evaluate SGT-001.


       29.     The above statements identified in ¶28 were materially false and/or misleading

when made because Defendants failed to disclose: (1) that Solid Biosciences’ lead drug candidate

SGT-001 had a high likelihood of causing adverse events in patients; (2) that Solid Biosciences

misled investors regarding the toxicity of SGT-001; and (3) that, as a result of the foregoing,




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Defendants’ statements in the Registration Statement regarding Solid Biosciences’ business,

operations, and prospects, were materially false and/or misleading.

                            Disclosures at the End of the Class Period

       30.       On January 30, 2018, an article was published by various medical experts

highlighting the risks of studies using high doses of gene therapies using adeno-associated virus

(AAV). One of the article’s co-authors was Dr. James Wilson, a former member of the Solid

Biosciences’ advisory board.

       31.       On this news the Company’s shares fell $1.20 per share, or over 5%, to close on
January 30, 2018 at $22.50 per share.
       32.       On March 14, 2018, after the close of trading, the Company published a press
release announcing that the U.S. Food and Drug Administration (“FDA”) had placed a clinical
hold on the SGT-001 Phase I/II clinical trial, IGNITE DMD. The press release further revealed in
relevant part:

       The first patient dosed in the clinical trial was a non-ambulatory adolescent who
       received 5E13 vg/kg of SGT-001 on February 14, 2018. Several days after
       administration the patient was hospitalized due to laboratory findings that
       included a decrease in platelet count followed by a reduction in red blood
       cell count and evidence of complement activation. The patient showed no signs
       or symptoms of coagulopathy (bleeding disorder) and no relevant changes from
       baseline in liver function tests. The patient responded well to medical
       treatment and is currently asymptomatic. All laboratory parameters have either
       improved or returned to normal, and he is continuing outpatient assessments.

       Solid reported the event to the FDA and, because it was unexpected, classified
       it as a Suspected Unexpected Serious Adverse Reaction (SUSAR). The FDA
       informed the company that the clinical hold was due to the event.

       33.       On March 15, 2018, Solid Biosciences’ share price fell $16.99 per share, or over




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60%, to close at $9.32 per share on March 15, 2018.

                               CLASS ACTION ALLEGATIONS

       34.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Solid Biosciences securities: a) issued in connection with the Company’s

January 25, 2018 initial public offering (“IPO” or the “Offering”); and/or, b) between January 25,

2018, and March 14, 2018, inclusive (collectively, the “Class”). Excluded from the Class are

Defendants, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Defendants have or had a controlling interest.

       35.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Solid Biosciences’ securities were actively traded on

the NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Millions of Solid Biosciences shares were traded

publicly during the Class Period on the NASDAQ. As of November 1, 2017, there were over 8

million shares of the Company’s common stock outstanding. Record owners and other members

of the Class may be identified from records maintained by Solid Biosciences or its transfer agent

and may be notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.




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       36.        Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       37.        Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       38.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Solid Biosciences ; and

                  (c)    whether the members of the Class have sustained damages and, if so, what

is the proper measure of damages.

       39.        A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.




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                              UNDISCLOSED ADVERSE FACTS

          40.   The market for Solid Biosciences’ securities was open, well-developed and

efficient at all relevant times. As a result of these materially false and/or misleading statements,

and/or failures to disclose, Solid Biosciences’ securities traded at artificially inflated prices during

the Class Period. Plaintiff and other members of the Class purchased or otherwise acquired Solid

Biosciences’ securities relying upon the integrity of the market price of the Company’s securities

and market information relating to Solid Biosciences, and have been damaged thereby.

          41.   During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Solid Biosciences’ securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements, as

set forth herein, not false and/or misleading. Said statements and omissions were materially false

and/or misleading in that they failed to disclose material adverse information and/or

misrepresented the truth about Solid Biosciences’ business, operations, and prospects as alleged

herein.

          42.   At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Solid Biosciences’ financial well-being and prospects.                These material

misstatements and/or omissions had the cause and effect of creating in the market an unrealistically

positive assessment of the Company and its financial well-being and prospects, thus causing the

Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiff and other
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members of the Class purchasing the Company’s securities at artificially inflated prices, thus

causing the damages complained of herein.

                                        LOSS CAUSATION

       43.        Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       44.        During the Class Period, Plaintiff and the Class purchased Solid Biosciences’

securities at artificially inflated prices and were damaged thereby. The price of the Company’s

securities significantly declined when the misrepresentations made to the market, and/or the

information alleged herein to have been concealed from the market, and/or the effects thereof,

were revealed, causing investors’ losses.

                                   SCIENTER ALLEGATIONS

       45.        As alleged herein, Defendants acted with scienter in that Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their

receipt of information reflecting the true facts regarding Solid Biosciences, his/her control over,

and/or receipt and/or modification of Solid Biosciences’ allegedly materially misleading

misstatements and/or their associations with the Company which made them privy to confidential

proprietary information concerning Solid Biosciences, participated in the fraudulent scheme

alleged herein.




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                   APPLICABILITY OF PRESUMPTION OF RELIANCE
                       (FRAUD-ON-THE-MARKET DOCTRINE)

       46.     The market for Solid Biosciences’ securities was open, well-developed and

efficient at all relevant times. As a result of the materially false and/or misleading statements

and/or failures to disclose, Solid Biosciences’ securities traded at artificially inflated prices during

the Class Period. On March 2, 2018, the Company’s stock closed at a Class Period high of $33.17

per share.   Plaintiff and other members of the Class purchased or otherwise acquired the

Company’s securities relying upon the integrity of the market price of Solid Biosciences’ securities

and market information relating to Solid Biosciences, and have been damaged thereby.

       47.     During the Class Period, the artificial inflation of Solid Biosciences’ stock was

caused by the material misrepresentations and/or omissions particularized in this Complaint

causing the damages sustained by Plaintiff and other members of the Class. As described herein,

during the Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Solid Biosciences’ business, prospects, and operations.               These

material misstatements and/or omissions created an unrealistically positive assessment of Solid

Biosciences and its business, operations, and prospects, thus causing the price of the Company’s

securities to be artificially inflated at all relevant times, and when disclosed, negatively affected

the value of the Company stock. Defendants’ materially false and/or misleading statements during

the Class Period resulted in Plaintiff and other members of the Class purchasing the Company’s

securities at such artificially inflated prices, and each of them has been damaged as a result.




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         48.   At all relevant times, the market for Solid Biosciences’ securities was an efficient

market for the following reasons, among others:

               (a)     Solid Biosciences stock met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, Solid Biosciences filed periodic public reports with

the SEC and/or the NASDAQ;

               (c)     Solid Biosciences     regularly communicated with public investors via

established market communication mechanisms, including through regular dissemination of press

releases on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and/or

               (d)     Solid Biosciences was followed by securities analysts employed by

brokerage firms who wrote reports about the Company, and these reports were distributed to the

sales force and certain customers of their respective brokerage firms. Each of these reports was

publicly available and entered the public marketplace.

         49.   As a result of the foregoing, the market for Solid Biosciences’ securities promptly

digested current information regarding Solid Biosciences from all publicly available sources and

reflected such information in Solid Biosciences’ stock price. Under these circumstances, all

purchasers of Solid Biosciences’ securities during the Class Period suffered similar injury through

their purchase of Solid Biosciences’ securities at artificially inflated prices and a presumption of

reliance applies.

         50.   A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements
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and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       51.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Solid

Biosciences who knew that the statement was false when made.




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                                        FIRST CLAIM
                          Violation of Section 11 of the Securities Act
                                 (Against All The Defendants)

       52.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein, except any allegation of fraud, recklessness or intentional misconduct.

       53.     This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. § 77k,

on behalf of the Class, against the Section 11 Defendants.

       54.     The Registration Statement for the IPO was inaccurate and misleading, contained

untrue statements of material facts, omitted to state other facts necessary to make the statements

made not misleading, and omitted to state material facts required to be stated therein.

       55.     Solid Biosciences is the registrant for the IPO. The Section 11 Defendants named

herein were responsible for the contents and dissemination of the Registration Statement.

       56.     As issuer of the shares, Solid Biosciences is strictly liable to Plaintiff and the Class

for the misstatements and omissions.

       57.     None of the Section 11 Defendants named herein made a reasonable investigation

or possessed reasonable grounds for the belief that the statements contained in the Registration

Statement were true and without omissions of any material facts and were not misleading.

       58.     By reasons of the conduct herein alleged, each Section 11 Defendant violated,

and/or controlled a person who violated Section 11 of the Securities Act.

       59.     Plaintiff acquired Solid Biosciences shares pursuant and/or traceable to the

Registration Statement for the IPO.

       60.     Plaintiff and the Class have sustained damages. The value of Solid Biosciences

common stock has declined substantially subsequent to and due to the Section 11 Defendants’

violations.
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                                        SECOND CLAIM
                           Violation of Section 15 of the Securities Act
                              (Against the Individual Defendants)

        61.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein, except any allegation of fraud, recklessness or intentional misconduct.

        62.     This count is asserted against the Section 11 Individual Defendants and is based

upon Section 15 of the Securities Act.

        63.     The Section 11 Individual Defendants, by virtue of their offices, directorship, and

specific acts were, at the time of the wrongs alleged herein and as set forth herein, controlling

persons of Solid Biosciences within the meaning of Section 15 of the Securities Act. The Section

11 Individual Defendants had the power and influence and exercised the same to cause Solid

Biosciences to engage in the acts described herein.

        64.     The Section 11 Individual Defendants’ positions made them privy to and provided

them with actual knowledge of the material facts concealed from Plaintiff and the Class.

        65.     By virtue of the conduct alleged herein, the Section 11 Individual Defendants are

liable for the aforesaid wrongful conduct and are liable to Plaintiff and the Class for damages

suffered.

                                        THIRD CLAIM
                        Violation of Section 10(b) of The Exchange Act
                           and Rule 10b-5 Promulgated Thereunder
                     (Against the Company and the Individual Defendants)

        66.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        67.     During the Class Period, the Company and the Individual Defendants carried out a

plan, scheme and course of conduct which was intended to and, throughout the Class Period, did:

(i) deceive the investing public, including Plaintiff and other Class members, as alleged herein;


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and (ii) cause Plaintiff and other members of the Class to purchase Solid Biosciences’ securities

at artificially inflated prices. In furtherance of this unlawful scheme, plan and course of conduct,

the Company and the Individual Defendants, and each of them, took the actions set forth herein.

       68.     the Company and the Individual Defendants (i) employed devices, schemes, and

artifices to defraud; (ii) made untrue statements of material fact and/or omitted to state material

facts necessary to make the statements not misleading; and (iii) engaged in acts, practices, and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities in an effort to maintain artificially high market prices for Solid Biosciences’ securities

in violation of Section 10(b) of the Exchange Act and Rule 10b-5. The Company and the

Individual Defendants are sued either as primary participants in the wrongful and illegal conduct

charged herein or as controlling persons as alleged below.

       69.     The Company and the Individual Defendants, individually and in concert, directly

and indirectly, by the use, means or instrumentalities of interstate commerce and/or of the mails,

engaged and participated in a continuous course of conduct to conceal adverse material

information about Solid Biosciences’ financial well-being and prospects, as specified herein.

       70.     These defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Solid Biosciences’ value and

performance and continued substantial growth, which included the making of, or the participation

in the making of, untrue statements of material facts and/or omitting to state material facts

necessary in order to make the statements made about Solid Biosciences and its business

operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a



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course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period.

       71.     Each of the Individual Defendants’ primary liability, and controlling person

liability, arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s

management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they knew

and/or recklessly disregarded was materially false and misleading.

       72.     The Company and the Individual Defendants had actual knowledge of the

misrepresentations and/or omissions of material facts set forth herein, or acted with reckless

disregard for the truth in that they failed to ascertain and to disclose such facts, even though such

facts were available to them. Such defendants’ material misrepresentations and/or omissions were

done knowingly or recklessly and for the purpose and effect of concealing Solid Biosciences’

financial well-being and prospects from the investing public and supporting the artificially inflated

price of its securities.   As demonstrated by the Company and the Individual Defendants’

overstatements and/or misstatements of the Company’s business, operations, financial well-being,

and prospects throughout the Class Period, these defendants, if they did not have actual knowledge

of the misrepresentations and/or omissions alleged, were reckless in failing to obtain such
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knowledge by deliberately refraining from taking those steps necessary to discover whether those

statements were false or misleading.

       73.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Solid

Biosciences’ securities was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by the Company and the Individual

Defendants, or upon the integrity of the market in which the securities trades, and/or in the absence

of material adverse information that was known to or recklessly disregarded by the Company and

the Individual Defendants, but not disclosed in public statements by these defendants during the

Class Period, Plaintiff and the other members of the Class acquired Solid Biosciences’ securities

during the Class Period at artificially high prices and were damaged thereby.

       74.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Solid Biosciences was experiencing, which were not disclosed by the Company and the

Individual Defendants, Plaintiff and other members of the Class would not have purchased or

otherwise acquired their Solid Biosciences securities, or, if they had acquired such securities




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during the Class Period, they would not have done so at the artificially inflated prices which they

paid.

        75.     By virtue of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

        76.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                       FOURTH CLAIM
                         Violation of Section 20(a) of the Exchange Act
                              (Against the Individual Defendants)

        77.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        78.     The Individual Defendants acted as controlling persons of Solid Biosciences within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions, and their ownership and contractual rights, participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, the Individual Defendants had

the power to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various

statements which Plaintiff contends are false and misleading. The Individual Defendants were

provided with or had unlimited access to copies of the Company’s reports, press releases, public

filings and other statements alleged by Plaintiff to be misleading prior to and/or shortly after these




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statements were issued and had the ability to prevent the issuance of the statements or cause the

statements to be corrected.

       79.      In particular, each of these Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, is presumed to have had the power to

control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same.

       80.      As set forth above, Solid Biosciences and the Individual Defendants each violated

Section 10(b) and Rule 10b-5 by their acts and/or omissions as alleged in this Complaint. By

virtue of their positions as controlling persons, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act. As a direct and proximate result of Defendants’ wrongful

conduct, Plaintiff and other members of the Class suffered damages in connection with their

purchases of the Company’s securities during the Class Period.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)      Determining that this action is a proper class action under Federal Rules of Civil

Procedure 23;

       (b)      Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)      Such other and further relief as the Court may deem just and proper.




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                                JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.




Dated: March 27, 2018                       ANDREWS DEVALERIO LLP

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